                    UNITED STATES COURT OF APPEALS                        FILED
                              FOR THE NINTH CIRCUIT                        SEP 8 2021
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
In re: COUNCIL FOR EDUCATION AND                 No.   21-71256
RESEARCH ON TOXICS.
______________________________                   D.C. No.
                                                 2:19-cv-02019-KJM-JDP
COUNCIL FOR EDUCATION AND                        Eastern District of California,
RESEARCH ON TOXICS,                              Sacramento

                Petitioner,                      ORDER

 v.

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF
CALIFORNIA, SACRAMENTO,

                Respondent,

CALIFORNIA CHAMBER OF
COMMERCE; ROB BONTA, Attorney
General of the State of California,

                Real Parties in Interest.

Before: HAWKINS, WATFORD, and LEE, Circuit Judges.

      The mandamus petition is denied without prejudice to the filing of a new

petition following the district court’s consideration of and decision on the recusal

motion.

      Petitioner’s motion for emergency relief (Docket Entry No. 2) is denied.

      DENIED.
